
*1014COPE, J.
(concurring).
This is an appeal of an order denying a motion for postconviction relief in which Florencia Villa sought to vacate her 1990 and 1995 pleas on account of an alleged failure of the trial court to warn her of the immigration consequences of the plea. See State v. Green, 944 So.2d 208 (Fla. 2006). The trial court conducted an evi-dentiary hearing. Ms. Villa has appealed but has not provided a transcript of the evidentiary hearing. Because a transcript is essential to resolution of the appellant’s claims, I concur in affirming on authority of Applegate v. Barnett Bank of Tallahassee, 377 So.2d 1150, 1152 (Fla.1979). See generally Philip J. Padovano, Florida Appellate Practice § 12:3 (2009).
